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Acting As Attorney Pro Se


                      UNITED STATES DISTRICT COURT
                            DISTRICT OF OREGON


MELLAND GROUP, LLC d/b/a             )                          No. CV08-957-AC
nTRUST,                              )
                                     )
an Oregon limited liability company, )
                                     )
and ALLAIN DE LA MOTTE,
                                     )
                                     )
                                     )
                   PLAINTIFFS        )
                                     )
                                     )   DECLARATION OF BERND H. WEBER IN
            v.                       )    OPPOSITION OF PLAINTIFFS' MOTION
                                     )     FOR PRELIMINARY INJUNCTION AND
                                     )    MOTION FOR EXPEDITED DISCOVERY
                                     )
BERND H. WEBER, CLAUDE J.            )
CHAUVEAU, AMERICAN GULF              )
FINANCE CORP., ALVION PARTNERS, )
LLC, WEBER, LLC, AGF REALTY          )
SOLUTIONS, INC., ALEXON              )
HOLDINGS INTERNATIONAL LTD.,         )
TIMEDATA CORPORATION, TIME           )
DATA HOLDINGS, LLC, and DOES 1- )
10,                                  )
                                     )
                   DEFENDANTS
                                     )




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TO THE HONORABLE UNITED STATES DISTRICT COURT:



I, Bernd H. Weber, declare:

    1. I make this declaration in opposition of Plaintiffs' Motion for Preliminary Injunction
       and Plaintiffs’ Motion for Expedited Discovery. The following is true to the best of
       my knowledge, information and belief.

    2. I am residing in Mississauga, Ontario, Canada, for more than 11 years and I am
       a German citizen.

    3. I have been a financial and real estate consultant since 1978.


    FACTUAL EVENTS - MELLAND GROUP LLC- ALLAIN DE LA MOTTE

    4. In the fall of 2006, Defendant Weber was introduced by the late Mr. Ray Hatch of
       New York City to the President of First Choice Equities, Inc., Mr. Dennis
       Geraghty. Mr. Geraghty shared certain draft documents with Defendant Weber,
       the use of which were not restricted by any confidentiality or other agreements.

    5. On December 27, 2006, upon introduction by the late Ray Hatch, Alvion
       Properties, Inc. (“Alvion”), represented by Defendant Bernd H. Weber in his
       position as Chief Financial Officer (“CFO”), entered into a Confidentiality and
       Non-Disclosure Agreement (“CNDA”) between Melland Group LLC (“Melland”)
       and Alvion. Disputes arising under this CNDA were to be exclusively legally
       settled by arbitration in New York, NY, in accordance with the rules of conciliation
       and arbitration of the American Arbitration Association.

    6. On October 29, 2007, a mutual CNDA was executed between Melland and
       American Gulf Finance Corporation (“AGF”), represented by Defendant Weber in
       his position as Chairman. Disputes arising under this CNDA were to be
       exclusively legally settled by arbitration in New York, NY, in accordance with the
       rules of conciliation and arbitration of the American Arbitration Association.

    7. On November 6, 2007, a Consulting Agreement was executed between Melland
       and Allain de la Motte (“ADLM”) and Alvion. Disputes arising under this CNDA
       were to be exclusively legally settled by arbitration in Portland, Oregon, in

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       accordance with the rules of conciliation and arbitration of the American
       Arbitration Association.


    8. On November 6, 2007, an agreement for AGF Resources Trust I. was executed
       between Melland and AGF, which included the inducement of Alvion to raise
       US$1,000,000 seed capital to pay for the costs associated with the launch of the
       alleged above Trust. Alvion was required to pay by Melland and ADLM upfront
       advance fees of US$395,000.00 to Melland. To this date, Melland has not
       performed or rendered any valuable consideration to the project in return.


    9. On November 8, 2007, Melland appointed Defendant Weber as their Senior Vice
       President Project Development.

    10. On December 20, 2007, Alvion paid additional fees of US$135,000.00 to Melland,
        now totalling US$530,000.00 in upfront advance fees, for which Alvion never
        received any valuable consideration by Melland/ADLM. In fact, ADLM and/or
        Melland provided or returned nothing of value for these substantial upfront fees.

    11. On February 8, 2008, Defendant Claude J. Chauveau (“Defendant Chauveau”)
        and Defendant Weber met with Seward & Kissel, (a New York City law firm
        claimed by Melland and ADLM as “their law firm” but whose fees were paid by
        Alvion) to advise the law firm of the termination, nullification and rescinding of all
        agreements and the termination of their respective positions with Melland.

    12. On March 7, 2008, Defendant Chauveau received a letter from David Cooper
        alleging breach of “Melland IP”. Mr. Cooper was an attorney with Kolisch Hartwell,
        P.C., a law firm in Portland, Oregon.

    13. On March 17, 2008, Defendant Chauveau responded to David Cooper openly
        revealing to David Cooper:

                    “While your clients’ representations appear to be bonafide on
                    the surface, they are masterfully designed to mislead
                    unsuspecting parties and are so woven into an aura of
                    legitimacy that parties who react to these presentations with
                    their goodwill, good faith, and last but not least their good
                    money,      are    incapable     of    seeing     past    these
                    misrepresentations. At this point, I am of the opinion that your

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                   clients are nothing but crafty businessmen that successfully
                   rely upon the goodwill and good faith of others to promote
                   their deception, thereby causing parties who have invested in
                   good faith into your clients to incur dramatic losses.
                   Furthermore, I am of the opinion that your clients should be
                   legally enjoined from making any further representations to
                   anyone until they can successfully demonstrate and prove
                   their ability to profitably implement their investment
                   technology claims to avoid harming any other unsuspecting
                   second and third parties.”


    14. On March 21, 2008, Defendant Weber nullified and rescinded all agreements on
        the basis of misrepresentation and fraud. Defendant Weber requested that
        “Melland Group LLC immediately provides evidence that these investment
        platforms and trusts (that are said to be designed to achieve these outperforming
        returns for Investors) really exist and are not just wild-goose-chase-patent-
        pending-hypotheticals, designed to embezzle substantial monies from clients in
        order to finance these ideas, rather than the clients’ own projects.” Defendant
        Weber requested Melland to refund all fees received under false pretense from
        Alvion. Melland declined to refund any monies received.

    15. On April 1, 2008, Melland in their letter to Alvion in response to the nullification
        letter of March 21, 2008, denied any responsibility and instead alleged numerous
        counter-violations of agreements without any providing any details. This is
        tantamount to the well-known behaviour of advance fee con artists (please see
        section entitled “The Advance Fee Scheme”).

    16. On April 4, 2008, Defendant Chauveau received another letter from David
        Cooper with endless repetitions of the ever same undefined allegations.

    17. On April 9, 2008, Defendant Chauveau responded to David Cooper rebutting
        again all and any of the ever same undefined allegations. In addition, Defendant
        Chauveau stated for the record:

                   “As I have never been paid a salary by your clients, never
                   had an employment agreement with your clients, nor ever
                   have been properly compensated for my time or efforts
                   acting as Chief Information Officer for your clients, this letter
                   shall also serve as my formal notice to you and your clients
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                   that I retain any and all rights of ownership or co-ownership
                   as may be appropriate to any contributions I may have made
                   to the Technology. “

    18. On April 11, 2008, Defendant Weber wrote a letter to Melland rebutting in detail
        each and every allegation and insinuation. Melland continued to refuse to define
        the “IP” that has allegedly been violated. This refusal ultimately resulted in the
        joint motion of Defendants Chauveau and Weber to request a More Definite
        Statement from the Plaintiffs, for which this Honorable Court has granted a
        hearing currently scheduled for January 15, 2009.

    19. On April 12, 2008, Defendant Weber wrote another letter to David Cooper
        regarding David Cooper’s intentional violation and circumvention of various
        CNDAs protecting the interests of Defendant Weber. David Cooper’s
        unsubstantiated and inflammatory and unfounded implied accusations are
        tantamount to slander. David Cooper, under the direction of Melland and ADLM,
        irreparably damaged Defendant Weber’s long-standing relationship with the
        former owners of Alvion and constituted tortuous interference with ongoing
        business relationships and contracts.

    20. On April 16, 2008, Defendant Chauveau had a conference call with David Cooper
        to explain to David Cooper that the “IP” of his client Melland has absolutely no
        substance and that Cooper indeed is supporting an illegal structure and
        manoeuvring himself into substantial liability. Cooper was shocked and
        requested more time to think about the “new information”. Thereafter, Cooper
        disappeared from the scene, just as many other lawyers have before him after
        they determined that Melland and ADLM had pulled wool over their eyes (see
        section entitled: “The Pattern With Law Firms”).

    21. On April 17, 2008, Defendant Weber wrote another letter to David Cooper again
        demanding to provide bonafide evidence of his unsubstantiated and inflammatory
        allegations or to issue his retraction notification. David Cooper never responded.

    22. On April 18, 2008, Defendant Weber wrote a letter to Melland again requesting to
        retract unfounded allegations and to reimburse the upfront and advance fees
        paid by Alvion. Melland again declined to refund any monies.

    23. On May 5, 2008, Melland responded to Alvion, Defendant Weber and Defendant
        Chauveau with the classical con artist pattern when the con artists recognizes
        that the time to perform is long over and when the con artist recognizes he
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       cannot possibly perform the promised tasks, with wild undefined allegations, all in
       an attempt to escape the responsibilities of Melland under the Consulting
       Agreement. Melland requested Defendant Weber and Defendant Chauveau to
       issue affidavits. Once again, Melland failed to define what the “IP” that was/is
       alleged to have been violated. While Melland claimed to cancel the relationships
       with Alvion in the letter, Melland asked for permission to contact Defendant
       Weber’s client Alvion directly. Despite Defendant Weber’s denial to allow Melland
       to contact Alvion directly, Melland and ADLM circumvented and met with the
       former owners of Alvion directly and had Howard Skaist, Esq., draft and/or cause
       to be filed a second law suit (filed in the Middle District of Tennessee - 3:08-cv-
       00866 Alvion Properties, Inc. et al v. Weber et al, on 09/12/2008) against
       Defendant Weber and Defendant Chauveau, in an attempt to obstruct Defendant
       Weber out of the relationship and which has caused tremendous additional costs
       and damages to Defendants Weber, Chauveau and others.

    24. On May 20, 2008, Defendant Weber issued another letter to David Cooper
        requesting a definition as to exactly what the “IP” was which was alleged to have
        been violated. The letter received no response.

    25. On May 21, 2008, Defendant Chauveau responded affirmatively to the request of
        Melland to have affidavits issued by Defendant Chauveau and Defendant Weber
        attesting that their alleged undefined “IP” was not being used. Conditions were
        stipulated that had to be satisfied by Melland before such affidavits could ever be
        issued. Melland never responded but instead filed the complaint now pending
        before this Honourable Court.


    MELLAND GROUP LLC CORPORATE INFORMATION

    26. To the best of my knowledge, Melland has its principal place of business at the
        home address of Mr. Robert West (“West”) and not as often falsely represented
        at 6700 SW Sandburg Road, Tigard, Oregon 97223. As a self-proclaimed
        company that manages multi-billion dollar transactions, Melland maintains no
        office of its own. It conducts some of their meetings in Tigard, Oregon, in the
        office of a food distributor, Western Family Foods, Inc.. Melland is owned by
        ADLM’s wife Elizabeth Melland, even though ADLM often falsely represents he is
        the sole owner (contradicted by the Oregon Secretary of State Corporate
        Division). Melland is not licensed in Oregon (or anywhere else in the USA for that
        matter) to offer or conduct financial services but nevertheless offers “risk free
        investments” openly to the public.
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    ALLAIN DE LA MOTTE

    27. To the best of my knowledge, ADLM is a Mauritian Citizen with permanent
        residency rights in the USA. According to ADLM he has applied for US
        citizenship three times and each time the citizenship was denied for undefined
        reasons. Melland is the alter ego of ADLM, who uses Melland as his very own
        personal bank account to pay himself, as well for Mr. West, his wife, Elizabeth,
        and any other parties who from time to time happen to be on his personal payroll.
        According to ADLM, Melland was created to be an IP holding and licensing
        company controlled by ADLM and owned by his wife, Elizabeth, which, according
        to ADLM, is designed to protect his personal IP and to limit his own personal
        liability in the event that he should ever be deported by the US authorities. Purely
        and simply put, ADLM and West are extraordinary con artists and prior to Alvion
        defrauded another company called QTires http://www.qtires.com (and possibly
        others). In the case of QTires the founding shareholder pledged 1 million shares
        of privately held stock to collateralize a $300,000 loan but ADLM/Melland
        defaulted on the loan and was never repaid by ADLM/Melland. That shareholder
        consequently lost his stock. ADLM signs as the Chairman of Melland. The clever
        technique used by ADLM to obtain funds from unsuspecting parties to cover
        alleged “costs” of transactions, which he then systematically misappropriates to
        fund the filing of his outrageous and unrealizable patent claims and the law firms
        who represent and defend him, represents a classic upfront advance fee scheme
        operation, where excuses rather than the promised investment returns are the
        only things that ever take place.

    THE “PATENTS”

    28. To the best of my knowledge, ADLM and/or Melland do not own a single patent,
        although this is regularly falsely represented otherwise (e.g. Melland’s Corporate
        Profile). To date none of their patent filings has ever resulted in an actual patent,
        according to direct information obtained from Mr. David Cooper of Kolisch
        Hartwell, P.C., 200 Pacific Building, 520 S.W. Yamhill Street, Portland, Oregon
        97204, an intellectual property law firm, http://www.khpatent.com, that was used
        by ADLM and/or Melland until they disappeared from the scene.




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    THE “PATTERN WITH LAW FIRMS”

    29. ADLM is a very intelligent salesman, who is gifted at the art of overwhelming
        even sophisticated parties with his investment and banking terminology jargon
        and who understands how to cause third parties (e.g. Alvion) to pay enormous
        upfront consulting fees in favour of Melland. The majority of the work conducted
        by these law firms is on a contingency basis, where ADLM promises a certain
        percentage of each transaction to the law firm in exchange for their legal services.
        However, the transactions never nor have ever taken place. When the law firm
        finally realizes that there will be no income from the transactions, but rather lots
        of issues and potential liabilities coming their way due to ADLM’s
        misrepresentations, etc., (Mr. Cooper involuntarily serves as a good example
        here) and that the law firm will be left “holding the bag” for all their fees, ADLM
        then moves on to the next law firm, taking with him the work product developed
        by the previous law firm to the next unsuspecting law firm.

    For example:

        i.   from Cadwalader, Wickersham & Taft LLP, One World Financial Center,
             New York, NY 10281,

       ii.   to Edwards Angell Palmer & Dodge LLP, 750 Lexington Avenue, New York,
             NY 10022,

      iii.   to Seward & Kissel LLP, One Battery Park Plaza, New York, NY 10004, on

      iv.    to Law Offices of Stephen R. Field, 240 Madison Avenue, New York, NY
             10016, and further on

       v.    to Kolisch Hartwell, P.C., 200 Pacific Building, 520 S.W. Yamhill Street,
             Portland, Oregon 97204, and further on

      vi.    to Berkeley Law and Technology Group, LLP (“BLTG”), 17933 NW
             Evergreen Parkway, Suite 250, Beaverton, OR 97006, and further on

     vii.    To The Coffman Law Firm, First City Building, 505 Orleans St., Ste. 505,
             Beaumont, TX 77701, and further on

     viii.   To The Creekmore Law Firm, P.C., 52 Pondview Court, Daleville, VA 24083,
             and further on
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      ix.   To Goodman, Allen & Filetti, PLLC, 4501 Highwoods Parkway, Ste. 210,
            Glen Allen, VA 23060, and lately to

      x.    To Perkins Coie, LLP, 1120 NW Couch Street, 10th Floor, Portland, OR
            97209-4128.


    30. Now, ADLM has lured BLTG, The Coffman Law Firm, The Creekmore Law Firm,
        Goodman, Allen & Filetti, PLLC, and the latest legal counsel Perkins Coie LLP
        into the same position. These law firms may not yet realize what liabilities they
        are creating for their respective firm by representing ADLM’s unenforceable and
        illegal IP until it is too late. At such time, ADLM will have moved onwards to the
        next law firm.


    THE PERSONAL INTEREST OF MR. SKAIST AND MR. KARR IN MELLAND
    GROUP LLC

    31. The engagement of BLTG, Mr. Skaist and Mr. Ted Karr, differs from the above
        pattern.

    32. To my knowledge, Mr. Skaist and Mr. Karr have been on the Senior Management
        Team of Melland for a long time. Howard A. Skaist is named Chief Patent
        Counsel and Ted D. Karr is named Chief IP Licensing Counsel. This is an
        excerpt from the company management bio of Melland as it relates to Messrs.
        Skaist and Karr:

                   “In their respective capacities as chief patent counsel and
                   Chief IP licensing counsel, Messrs. Skaist and Karr handle all
                   aspects of managing the intellectual property portfolio of the
                   company and nTrust’s intellectual property patent trust
                   formed to exploit one of the company’s patent portfolio which
                   consists of a process of aggregating and monetizing a
                   diversified portfolio of patents and the investment of
                   proceeds in 100% principal-protected strategies that provide
                   a financial return for the owner of an illiquid patent portfolio
                   asset over and above normal licensing income. In
                   cooperation with the company’s long-standing external
                   intellectual property counsel (Kolish Hartwell, LLP), Messrs.
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                   Skaist and Karr are responsible for in-house patent strategy,
                   preparation and prosecution, portfolio building, portfolio
                   management, patent assertion and other patent license
                   negotiation support, including strategic oversight of future
                   patent litigation.”

    33. According to ADLM, BLTG has advanced as much as $3 Million of BLTG’s
        money and/or Howard Skaist’s money to file ADLM’s patents while ADLM has
        been unable to refund the firm. On several occasions, ADLM even advised that
        he and Melland were in the process of acquiring BLTG.

    34. Based on these representations, I believe that Messrs. Skaist and Karr have a
        significant personal interest in Melland which has not been disclosed to the public.
        To wit, Messrs. Skaist and Karr support, protect and market

                   “an intellectual property patent trust formed to exploit one of
                   the company’s patent portfolio which consists of a process of
                   aggregating and monetizing a diversified portfolio of patents”,

       while no actual patents exist.

    35. Needless to say that even if such trust exists, neither ADLM nor Melland own any
        patents that such a trust could manage. It is all a big illusion.


    THE ADVANCE FEE SCHEME

    36. The website of the Federal Bureau of Investigation (“FBI”) quotes the symptoms
        of an “Advance Fee Scheme” as follows:

                   “An advance fee scheme occurs when the victim pays money
                   to someone in anticipation of receiving something of greater
                   value, such as a loan, contract, investment, or gift, and then
                   receives little or nothing in return. .... Be wary of business
                   deals that require you to sign nondisclosure or
                   noncircumvention agreements that are designed to prevent
                   you from independently verifying the bona fides of the people
                   with whom you intend to do business. Con artists often use
                   noncircumvention agreements to threaten their victims with
                   civil suit if they report their losses to law enforcement.”
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    37. The behaviour of ADLM and/or Melland unfortunately confirms these symptoms.
        “Nothing of value was returned” as nothing can be returned because the alleged
        IP cannot be legitimately implemented in the marketplace. No value can be
        realized because the alleged IP in question is illegal under 12CFR 3.100 (f) (1).
        Given ADLM’s self-professed level of financial subject-matter expertise, ADLM
        and his law firms must indeed know this. It is in fact the legal obligation of any
        competent IP lawyer to independently confirm this if litigation is to be pursued.
        Therefore, one can only reasonably presume that they too must have come to
        the very same conclusion that the alleged IP is indeed illegal.

    38. As confirmed by the FBI, advance fee scheme con artists typically use
        nondisclosure agreements to threaten their victims with civil suits when they
        cannot return the advance fees or perform their promises. In this case, with full
        knowledge that there cannot possibly be any performance due to the illegality of
        the IP, ADLM and Melland behave in perfect stereotypical fashion as described
        by the FBI as an “advance fee scheme” and file or cause frivolous law suits to be
        filed against the parties they have damaged in hope that these parties will simply
        capitulate to their legal threats, which will then permit them to escape their legal
        and moral responsibilities.

    39. I believe that ADLM must have constructive knowledge of this: “If one by prudent
        behaviour should have known a fact, they are deemed having knowledge of that
        fact.” In compliance with the legal principle of "constructive knowledge", both
        ADLM and/or Melland, and just as importantly, the armada of specialized IP
        lawyers who are legally obligated to independently verify the merits of a client's
        IP BEFORE a complaint is filed must have had cognizance of the illegality of the
        IP had they applied a minimum of reasonable care or due diligence. In failing to
        conduct their legal obligation of due diligence, IP lawyers cannot avoid civil
        liability in applying wilful blindness by closing their eyes to what is occurring with
        the alleged proprietary IP of their clients and not take any corrective action.
        Plaintiffs' IP lawyers deliberately failed to make a reasonable inquiry of
        wrongdoing despite the awareness of the high probability of the existence of
        illegality, after they were alerted several times in writing by Defendants of the
        defects.




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    40. An advance-fee fraud is a confidence trick in which the target is persuaded to
        advance sums of money in the hope of realizing a significantly larger gain. This
        hope will never be fulfilled by ADLM and/or Melland as the underlying premise is
        illegal.


    THE HEART OF THE “CONFIDENTIAL IP”

    41. The heart of the “confidential IP” is the structured combination of standard
        banking products, e.g. a Certificate of Deposit (CD), strip the interest coupon
        from the principal note, take the principal note, then borrow 100% against it at a
        lower interest rate than the coupon rate and thereby create an interest arbitrage
        (and instant profit). Nobody has ever seen it happening. The key flaw in this “IP”
        is that the principal note has a present-day value that is significantly lower than
        100% and therefore prevents the borrowing of 100% of the future value of the
        principal note.

                   Product description by Melland Group LLC:
                   Method of engineering a profitable financial arbitrage through
                   the use of a bank certificate of deposit purchased at a yield to
                   maturity that exceeds its refinancing cost, wherein the CD
                   and the loan mature concurrently, the loan risk is fully
                   defeased (interest and principal) by the pledge of the CD,
                   periodic receivables and payables are matched to provide
                   equal cash flows, and the closing requires a simultaneous
                   closing in escrow of all the components that make up a
                   transaction.

    42. When this didn’t work, Melland’s focus shifted from a CD to instead purchase
        notes that qualify as Tier 2 capital for the banks (subordinated and unsecured). It
        was then discovered by Alvion Partners LLC, AGF and AGF Realty Solutions
        LLC that OCC and FDIC rules and regulations prohibit a bank to lend against its
        own qualifying Tier 2 notes. With this prohibition, the alleged IP, referenced as
        the alleged “ICEF” Program independently developed by me and Mr Chauveau
        and alleged to be proprietary by the Plaintiffs, becomes unworkable and illegal
        under 12 CFR 3.100 (f) (1).

    43. On the other hand no counterparty bank will lend against the unsecured and
        subordinated notes at par. The current mortgage and credit crisis has proven
        what value bank indentures have that do not have recourse in the event of
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       default. It is therefore fair to say that this “IP” is the attempt to market an
       illegitimate product and that BLTG (and the derivative law firms) has failed to
       conclude their due diligence when assisting Melland in marketing or “protecting”
       their “IP”. When David Cooper’s law firm was confronted with these facts and
       realized that there was no basis for this “IP” and that Mr. Cooper and his law firm
       were exposing themselves to substantial liabilities, the law firm refrained from
       any other unsubstantiated allegations and abruptly stopped all communications.


    PARTIAL LIST OF MISREPRENSENTATIONS BY ADLM AND/OR MELLAND
    AND/OR WEST

    44. The following represents a partial list of misrepresentations of ADLM and/or
        Melland, in no particular order:

           The representation that ADLM or Melland own patents is false
            advertisement, misleading and a form of constructive fraud.

           The representation that ADLM or Melland had secured an institutional
            trustee to manage the trusts, alike Deutsche Bank of the Americas, State
            Street Bank or Bank of New York Mellon, is false.

           The representation that ADLM or Melland own proprietary technology that
            creates “riskless above-market returns” is false.

           The representation of computations of income projections is false.

           The representation of timelines to return the advanced fees is false.

           The representation of timelines to conclude the trust transaction is false.

           The representation that ADLM or Melland have direct access to deeply
            discounted bank notes is false.

           The representation that ADLM or Melland have developed or own ICEF is
            false.

           The representation that ADLM or Melland have proven financial resources
            to monetize illiquid assets is false.


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           The representation that the trust notes are discountable via the discount
            window of the Federal Reserve System is false.

           The representation that Standard & Poor’s would apply a minimum rating of
            AA to the unit participation trust notes is false.


    THE RELATED LAW SUIT IN THE MIDDLE DISTRICT OF TENNESEE


    45. When it became clear to ADLM and Melland that Defendants Weber and
        Chauveau had discovered that ADLM’s alleged IP had no value and when
        Defendant Weber, then the CFO of Alvion, rescinded all agreements with
        Melland, it also became obvious to ADLM and/or Melland that they had lost
        access to the only true value they could present to banks to justify their advance
        fee scheme: the Alvion assets under legal control of Defendant Weber. Without
        presenting tangible substantial assets to a banking institution, no sophisticated
        institution would entertain the wild and unsubstantiated theories of ADLM and his
        illegitimate IP.

    46. As a consequence, and now in survival mode and in his attempt to justify his
        advance fee scheme, ADLM met without my knowledge or permission with the
        ex-shareholders of Alvion Properties, Inc., Messrs. Medley and Reynolds in
        Nashville on or about May 16, 2008. Messrs. Medley and Reynolds are
        insufficiently sophisticated in financial matters to form an objective opinion on
        ADLM’s unsubstantiated “IP”. In accordance with ADLM’s Declaration on record
        with the Honorable Court, Mr. Henshaw of Farmers State Bank, who clearly
        breached current banking laws by releasing Alvion Partners LLC private
        information to ADLM and Melland and is aiding and abetting ADLM in his
        scheme, also participated in the meeting.


    47. In this meeting the idea was concocted to file yet another frivolous law suit
        (ironically staged as a trademark infringement and reverse passing off) in the
        United States District Court Middle District of Tennessee (case number 3:08-cv-
        866) against the same defendants (the “TN law suit”). This law suit was also
        motivated by the fact that Defendant Weber had optioned to transfer the stock
        from the former share holders Medley and Reynolds to AGF, fully vested with an
        irrevocable stock power by Attorney Grant, Esq., at such time representing


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       Messrs. Medley and Reynolds, so that the Alvion assets were suddenly out of
       reach for ADLM and Melland.


    48. Even more ironically, not only does the TN law suit partially contain identical
        language and phrases as the complaint filed with this Honorable Court (the very
        same Mr. Howard Skaist of BLTG admitted to Defendant Chauveau that he had
        drafted both law suits), but also the very same armada of lawyers and law firms
        are litigating both law suits.


    ADLM breached all rules of ethical conduct by interfering with the long-standing
    relationship Defendant Weber had established with the former Alvion shareholders
    Medley and Reynolds by convincing the shareholders of Alvion the way he
    convinced Defendants Weber and Chauveau and others that by using his alleged,
    unsubstantiated, and now known to be illegal IP that he could generate millions of
    risk-free profits.


    CONCLUSION

    49. In conclusion, ADLM, West and Melland are conducting illegal, deceptive and
        unethical business practices.

    50. None of ADLM’s and Melland’s claims of

       a. Defendants’ alleged misappropriation of Plaintiffs' trade secrets;
       b. Defendants' alleged infringement of Plaintiffs' trademark rights under section
          43(a) of the Lanham Act;
       c. Defendants' alleged breach of the non-disclosure agreements ("CNDAs")
          executed by one or more Defendants, on the one hand, and Melland Group
          LLC on the other hand; and
       d. Defendants alleged breach of the fiduciary duties owed to Plaintiffs by
          Defendants,

       have any merits whatsoever, for the simple reason that Plaintiffs’ alleged
       Confidential Technology, in particular the “ICEF” Program is illegal under current
       OCC and FDIC rules and regulations as set forth in 12CFR 3.100 (f) (1).




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    51. Plaintiffs’ allegations that unless and until Defendants are enjoined by this
        Honorable Court, Plaintiffs would continue to suffer irreparable harm due to
        Defendants' alleged acts, are therefore utterly meritless as no harm could be
        suffered by Plaintiffs and no enrichment can ever inure to Plaintiffs or the
        Defendants. In particular, Plaintiffs’ alleged “ICEF” Program proprietary
        technology is neither confidential, nor proprietary, nor does it contain trade
        secrets because the technology is illegal and cannot possibly be legally
        implemented in the financial markets.

    52. Even if, for argument purposes only, all the allegations of Plaintiffs in their
        Complaint would be factually undisputed and taken to be true, the entire premise
        for Plaintiffs’ Complaint is entirely baseless and absurd. If any party should be
        enjoined from representing the alleged IP, it should be the Plaintiffs and not the
        Defendants as Defendants have long abandoned the illegal IP.

    53. In the alternate, it should be the Plaintiffs who should be disgorged of all advance
        consulting fees they have been paid or, they should be required by the
        Honorable Court to demonstrate the legitimacy of their alleged IP – i.e., how
        Plaintiffs have in fact successfully and legitimately generated the risk-free profits
        they allege their IP is capable of generating for their clients. The Honorable Court
        should compel Plaintiffs to either prove the legality of their alleged “IP” (better
        described as “Imaginary Property” rather than “Intellectual Property”), or enjoin
        the Plaintiffs to forever cease to conduct business and make any further
        representations of their alleged IP to the marketplace.

    54. If Plaintiffs cannot establish the legality of their IP, then Plaintiffs and their
        lawyers should also all be sanctioned under FRCP 11(b) for having filed such a
        ridiculous, frivolous and extremely malicious lawsuit. Plaintiffs’ continuation of the
        lawsuit after discovery of the facts showing absolutely no merits would be
        tantamount to vexatious litigation.




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WHEREFORE, Plaintiffs’ Motion for Preliminary Injunction and Motion for Expedited
Discovery should be DENIED.

I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief.

Dated: December 21, 2008




       Respectfully submitted,




                                      /s/ Bernd H. Weber
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CERTIFICATE OF SERVICE


I hereby certify that a true and accurate copy of the Declaration of Bernd H. Weber in
Opposition of Plaintiffs' Motion for Preliminary Injunction and Plaintiffs’ Motion
for Expedited Discovery was filed with the Office of the Clerk of the Court of the
United States District Court for the District of Oregon using the CM/ECF system,
pursuant to the Local Rules of the District of Oregon on December 30, 2008. (Previous
attempts to file the document(s) on December 21, 2008 and December 22, 2008 failed
due to weather-related server problems as reported by the Court. Consequently, the
Court granted Defendants permission to file the attached no later than December 30,
2008.)

and by electronic transmission to:

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